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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
RYAN SAMSEL,
                                                          Petitioner,                  Civil Action No. 24-cv-05026
         -against-                                                                     (Kovner, J.)

COLETTE S. PETERS, Director of Federal Bureau of
Prisons, WARDEN, Metropolitan Detention Center –
Brooklyn, Federal Bureau of Prisons, RONALD L. DAVIS,
Director U.S. Marshalls Service, THOMAS N. FAUST,
Director Department of Corrections of the District of
Columbia, and MERRICK GARLAND, Attorney General
as Head of the U.S. Department of Justice,

                                                          Respondents.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
                        DECLARATION OF ASSISTANT U.S. ATTORNEY
                               KATHLEEN A. MAHONEY

         I, Kathleen A. Mahoney, declare and state as follows:

         I am an Assistant United States Attorney, Eastern District of New York.

         I make this declaration to place the appended Exhibit A, which is true copy of the

printout of the publicly available Docket Report for United States v. Samsel, et al, 21-cr-00537-

JMC-1 (D.D.C), into the record in the above-captioned proceeding pursuant to 28 U.S.C.

§ 2241 for the convenience of the Court and Petitioner.

          In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge.

Dated: August 20, 2024                                                       s/Kathleen A. Mahoney
       Brooklyn, New York                                                    KATHLEEN A. MAHONEY
                                                                             Assistant U.S. Attorney
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